        Case 2:01-cv-02223-PBT Document 400 Filed 02/25/19 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHECKPOINT SYSTEMS, INC.,                       :
                                                :
              Plaintiff,                        :
                                                :
       v.                                       :          CIVIL ACTION
                                                :
                                                :          NO. 01-2223
ALL-TAG SECURITY S.A., et al.,                  :
                                                :
              Defendants.                       :

                                           ORDER

       AND NOW, this ___25th___ day of February, 2019, upon consideration of Defendants’

Motion for Partial Consideration (Doc. 398), and Plaintiff’s Response in Opposition (Doc. 399),

IT IS HEREBY ORDERED AND DECREED that Defendants’ Motion is DENIED.



                                                           BY THE COURT:

                                                           /s/ Petrese B. Tucker
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                                                           Hon. Petrese B. Tucker, U.S.D.J.
